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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
       In re:                                    :
       Anthony S. Bruttaniti                     :   Chapter 13
                                                 :
                                                 :
                                                 :
       Debtor.                                   :   Bankruptcy Case No. 19-17707
                                                 :

        OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN

       THE UNITED STATES OF AMERICA, on behalf of its agency, the Internal Revenue

Service (the “IRS”), moves that the above-captioned debtor’s plan be denied confirmation

pursuant to 11 U.S.C. §§ 1308(a), 1325(a)(5), 1326, and 1325(a)(9), and Fed. R. Bankr. P.

3015(f) (hereinafter all statutory references are to the Bankruptcy Code unless otherwise stated).

In support thereof, the United States alleges:

   1. The debtor filed a bankruptcy petition seeking relief under Chapter 13 on December 10,

       2019.

   2. The debtor filed a Chapter 13 plan on December 10, 2019.

   3. The IRS filed an amended proof of claim for federal taxes on February 26, 2020, setting

       forth secured claims totaling $89,857.25 (including pre-petition interest); unsecured

       priority claims totaling $47,812.72 (including pre-petition interest); and unsecured

       general claims (including pre-petition interest) totaling $26,427.94. A copy of the proof

       of claim is attached hereto as Exhibit A.

   4. The plan should not be confirmed because it does not provide for full payment of the

       IRS’s secured tax claims, plus post-confirmation interest, as required by 11 U.S.C.

       § 1325(a)(5).
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   5. The plan should not be confirmed because it does not provide for retention of the IRS’s

       tax lien until the secured claim is paid in full, in violation of 11 U.S.C. § 1325(a)(5).

   6. The plan should not be confirmed because the debtor has failed to file a federal tax return

       as required under 11 U.S.C. §§ 1308(a) and 1325(a)(9). Specifically, the debtor has

       failed to file his tax return for tax year 2017.

   7. The plan should not be confirmed because it is not feasible.

       WHEREFORE, the United States respectfully requests that confirmation of the debtor’s

plan be denied.

                                               Respectfully submitted,

                                               WILLIAM M. McSWAIN
                                               United States Attorney


                                                /s/ Matthew E. K. Howatt
                                               MATTHEW E. K. HOWATT
                                               ANTHONY ST. JOSEPH
                                               Assistant United States Attorneys
                                               615 Chestnut Street, Suite 1250
                                               Philadelphia, PA 19106
                                               Tel: 215-861-8335(MH)/8267(ASJ)
                                               Fax: 215-861-8618
                                               Matthew.Howatt@usdoj.gov
                                               Anthony.Stjoseph@usdoj.gov

Dated: August 4, 2020




                                                  2
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date I caused a true and correct copy of the foregoing

OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN to be served upon

the following by electronically filing with the Bankruptcy Court’s CM/ECF system:



Brad J. Sadek
Counsel for debtor

William C. Miller
Chapter 13 Trustee

U.S. Trustee
Office of the U.S. Trustee
Philadelphia, PA




                                             /s/ Matthew E. K. Howatt
                                             MATTHEW E. K. HOWATT
                                             Assistant United States Attorney



Dated: August 4, 2020




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                    EXHIBIT A
     Case
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  Fill in this information to identify the case:

  Debtor 1               ANTHONY S. BRUTTANITI
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

                                           EASTERN
  United States Bankruptcy Court for the: ___________            PENNSYLVANIA
                                                     District of ______________________

               19-17707-MDC
  Case number ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                    04/19

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?                          ___________________________________________________________________________________________________________
                                      Department of Treasury - Internal Revenue Service
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                 ✖ No
   acquired from
   someone else?                          Yes. From whom?         ______________________________________________________________________________________________________


3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      _____________________________________________________
                                      Internal Revenue Service                                                    Internal Revenue Service
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     P.O. Box 7346
                                      ______________________________________________________                      P.O. Box 7317
                                                                                                                  ______________________________________________________
                                      Number Street                                                               Number Street
                                       Philadelphia                      PA   19101-7346
                                      ______________________________________________________
                                                                                                                      Philadelphia           PA             19101-7317
                                                                                                                  ______________________________________________________
                                      City State                                   ZIP Code                       City State                                   ZIP Code

                                                     1-800-973-0424
                                      Contact phone ________________________                                                     1-800-973-0424
                                                                                                                  Contact phone ________________________

                                      Contact email ________________________                                      Contact email ________________________

                                      Creditor Number: __________________
                                                       14437804
                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                  No
   one already filed?
                                      ✖ Yes. Claim number on court claims registry (if known)                 2
                                                                                                            ________                   Filed on    01/03/2020
                                                                                                                                                  ________________________
                                                                                                                                                  MM / DD       / YYYY



5. Do you know if anyone              ✖ No
   else has filed a proof                 Yes. Who made the earlier filing?          _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                            page 1
     Case
  Case    19-17707-mdc Doc
       19-17707-mdc     Claim
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number           No
   you use to identify the       ✖ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: See
                                                                                                                            ____Attachment
                                                                                                                                  ____ ____ ____
   debtor?



7. How much is the claim?                              164,097.91 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                    No
                                                                             ✖ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Taxes
                                 ______________________________________________________________________________



9. Is all or part of the claim      No
   secured?                      ✖ Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                            ✖ Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                            ✖ Motor vehicle
                                            ✖ Other. Describe:            *All of debtor(s) right, title and interest to property - 26 U.S.C. §6321.
                                                                          _____________________________________________________________



                                           Basis for perfection:        See Attachment
                                                                        _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:                     89,857.25
                                                                                         $__________________

                                                                                             74,240.66
                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                       amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________


                                                                                        5
                                           Annual Interest Rate (when case was filed)_______%
                                               Fixed
                                            ✖ Variable


10. Is this claim based on a     ✖ No
    lease?
                                    Yes. Amount necessary to cure any default as of the date of the petition. $____________________


11. Is this claim subject to a      No
    right of setoff?
                                 ✖ Yes. Identify the property: ___________________________________________________________________
                                                                See Attachment




 Official Form 410                                                   Proof of Claim                                                         page 2
     Case
  Case    19-17707-mdc Doc
       19-17707-mdc     Claim
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12. Is all or part of the claim           No
    entitled to priority under
    11 U.S.C. § 507(a)?             ✖ Yes. Check one:                                                                                              Amount entitled to priority

   A claim may be partly                       Domestic support obligations (including alimony and child support) under
   priority and partly                         11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                             $____________________
   nonpriority. For example,
   in some categories, the                     Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                       personal, family, or household use. 11 U.S.C. § 507(a)(7).                                         $____________________
   entitled to priority.
                                               Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                               bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                  $____________________
                                               11 U.S.C. § 507(a)(4).
                                                                                                                                                               47,812.72
                                          ✖ Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $____________________

                                               Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                  $____________________

                                               Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                  $____________________

                                          * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                ✖ I am the creditor.
 FRBP 9011(b).                     I am the creditor’s attorney or authorized agent.
 If you file this claim            I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
                                   I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                                   02/25/2020
                              Executed on date _________________
                                                           MM / DD / YYYY



                                     /s/KEVIN CONNELLY
                                     ________________________________________________________________________
                                       Signature


                                  Print the name of the person who is completing and signing this claim:

                                                          KEVIN                                                                    CONNELLY
                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Bankruptcy Specialist
                                                         _______________________________________________________________________________________________

                                  Company
                                                          Internal Revenue Service
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                          600 ARCH ST ROOM 5200
                                                         _______________________________________________________________________________________________
                                                         Number Street
                                                          PHILADELPHIA                                               PA              19106
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                              Email          ____________________________________




 Official Form 410                                                          Proof of Claim                                                                 page 3
       Case
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Proof of Claim for                                                                                                            Form        410
                                                                                                                              Attachment
Internal Revenue Taxes
                                                                                                                   Case Number
Department of the Treasury/Internal Revenue Service
                                                                                                                    19-17707-MDC
    In the Matter of: ANTHONY S. BRUTTANITI
                              1432 SOUTH BROAD STREET                                                              Type of Bankruptcy Case
                              PHILADELPHIA, PA 19146                                                                CHAPTER 13
                                                                                                                   Date of Petition
                                                                                                                    12/10/2019
 Amendment No. 2 to Proof of Claim dated 01/03/2020
The United States has the right of setoff or counterclaim. However, this determination is based on available data and is not intended to
waive any right to setoff against this claim debts owed to this debtor by this or any other federal agency. All rights and is of setoff are
preserved and will be asserted to the extent lawful.
This Claim Is Filed Pursuant To 11 U.S.C. Section 1305(a)


 Secured Claims                                (Notices of Federal tax lien filed under internal revenue laws before petition date)

 Taxpayer ID                                     Date Tax                         Penalty to       Interest to      Notice of Tax     Lien Field: Office
 Number         Kind of Tax       Tax Period     Assessed          Tax Due        Petition Date    Petition Date    Date              Location
 XXX-XX-6591 INCOME               12/31/2008     12/17/2012       $343.00         $3,214.49        $1,585.81        09/29/2015        Philadelphia Co

 XXX-XX-6591 INCOME               12/31/2011     03/11/2013       $5,354.00       $2,693.26        $1,789.97        09/29/2015        Philadelphia Co

 XXX-XX-6591 INCOME               12/31/2012     08/26/2013       $12,648.00      $3,439.61        $3,767.76        09/29/2015        Philadelphia Co

 XXX-XX-6591 INCOME               12/31/2013     05/04/2015       $11,415.00      $6,444.34        $2,930.19        09/29/2015        Philadelphia Co

 XXX-XX-6591 INCOME               12/31/2014     11/23/2015       $6,620.00       $1,965.10        $1,453.47        04/26/2016        Philadelphia Co

 XXX-XX-6591 INCOME               12/31/2015     09/19/2016       $7,785.00       $1,239.56        $1,424.33        12/28/2018        Philadelphia Co

 XXX-XX-6591 INCOME               12/31/2016     12/25/2017       $9,214.00       $3,271.09        $1,259.27        12/28/2018        Philadelphia Co

                                                                  $53,379.00      $22,267.45       $14,210.80

                                                 Total Amount of Secured Claims:                                    $89,857.25


 Unsecured Priority Claims                     under section 507(a)(8) of the Bankruptcy Code

 Taxpayer ID
 Number             Kind of Tax          Tax Period           Date Tax Assessed                Tax Due                        Interest to Petition Date
 XXX-XX-6591        INCOME               12/31/2017           1 4-PER RECORDS/DEBTOR          $14,796.00                      $1,356.07
 XXX-XX-6591        INCOME               12/31/2018           2 1-ESTIMATED-SEE NOTE          $14,299.00                      $506.65

 XXX-XX-6591        INCOME               12/31/2019                                           $16,855.00                      $0.00

                                                                                              $45,950.00                      $1,862.72



                                         Total Amount of Unsecured Priority Claims:                                           $47,812.72


 Unsecured General Claims
 Taxpayer ID
 Number             Kind of Tax          Tax Period           Date Tax Assessed                Tax Due                        Interest to Petition Date
 XXX-XX-6591        INCOME               12/31/2004           05/04/2009                      $0.00                           $790.64
      Case
   Case    19-17707-mdc Doc
        19-17707-mdc     Claim
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Taxpayer ID
Number                  Kind of Tax              Tax Period               Date Tax Assessed                     Tax Due                             Interest to Petition Date
XXX-XX-6591             INCOME                   12/31/2007               12/15/2008                           $10,521.00                           $6,329.42
XXX-XX-6591             INCOME                   12/31/2015               01/02/2017                           $477.00                              $87.26
                                                                                                               $10,998.00                           $7,207.32


 Penalty to date of petition on unsecured priority claims (including interest thereon) . . . . . .$2,700.05
 Penalty to date of petition on unsecured general claims (including interest thereon) . . . . . .$5,522.57



                                                 Total Amount of Unsecured General Claims:                                                          $26,427.94

1 INFORMATION FROM DEBTOR OR RETURN RECEIVED THAT IS NOT YET ASSESSED. THIS CLAIM MAY BE AMENDED AS NECESSARY UPON ASSESSMENT OF THE LIABILITY OR EXAMINATION OF DEBTOR TAX RETURN.
2 LIABILITY IS ESTIMATED BASED ON AVAILABLE INFORMATION BECAUSE THE RETURN HAS NOT BEEN FILED. THIS CLAIM MAY BE AMENDED AS NECESSARY AFTER THE DEBTOR FILES THE RETURN OR PROVIDES
OTHER REQUIRED INFORMATION.
       Case
    Case    19-17707-mdc Doc
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 1872                                COURT RECORDING DATA
      INTERNAL REVENUE SERVICE                          Lien Recorded : 04/26/2016 - 00:00AM
 FACSIMILE FEDERAL TAX LIEN DOCUMENT                    Recording Number: 020116
                                                        UCC Number     :
BANKRUPTCY DOCKET: 19-17707-MDC                         Liber      :
                                                        Page         :

 Area: SMALL BUSINESS/SELF EMPLOYED #2                   IRS Serial Number: 209072716
 Lien Unit Phone: (800) 913-6050                         Lien Recorded       : 02/03/2010
                              This Lien Has Been Filed in Accordance with
                              Internal Revenue Regulation 301.6323(f)-1.

 Name of Taxpayer:
   ANTHONY BRUTTANITI & J FITZPATRICK



 Residence:      1432 S BROAD ST
                 PHILA, PA 19146-4808


     With respect to each assessment below, unless notice of lien
     is refiled by the date in column(e), this notice shall constitute
     the certificate of release of lien as defined in IRC 6325(a).


   Form          Period          ID Number            Assessed           Refile Deadline         Unpaid Balance
    (a)           (b)                (c)                 (d)                    (e)                    (f)

   1040       12/31/2014       XXX-XX-6591           11/23/2015           12/23/2025                      $7,125.58




Filed at:      Prothonotary
               Philadelphia County                                                  Total   $7,125.58
               Philadelphia, PA 19107
This notice was prepared and executed at DETROIT, MI
on this, the 18th day of April, 2016.
Authorizing Official:                        Title:
   T. MCCALL                                     REVENUE OFFICER                    22-08-1214
       Case
    Case    19-17707-mdc Doc
         19-17707-mdc     Claim
                             33 2-3
                                 FiledFiled 02/26/20Entered
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 1872                                COURT RECORDING DATA
      INTERNAL REVENUE SERVICE                          Lien Recorded : 09/29/2015 - 00:00AM
 FACSIMILE FEDERAL TAX LIEN DOCUMENT                    Recording Number: 020077
                                                        UCC Number     :
BANKRUPTCY DOCKET: 19-17707-MDC                         Liber      :
                                                        Page         :

 Area: SMALL BUSINESS/SELF EMPLOYED #2                   IRS Serial Number: 176711115
 Lien Unit Phone: (800) 829-3903                         Lien Recorded       : 02/03/2010
                              This Lien Has Been Filed in Accordance with
                              Internal Revenue Regulation 301.6323(f)-1.

 Name of Taxpayer:
   ANTHONY BRUTTANITI & J FITZPATRICK



 Residence:      1432 S BROAD ST
                 PHILA, PA 19146-4808


     With respect to each assessment below, unless notice of lien
     is refiled by the date in column(e), this notice shall constitute
     the certificate of release of lien as defined in IRC 6325(a).


   Form          Period          ID Number            Assessed           Refile Deadline      Unpaid Balance
    (a)           (b)                (c)                 (d)                    (e)                 (f)

   1040       12/31/2013       XXX-XX-6591           05/04/2015           06/03/2025                  $15,339.12




Filed at:      Prothonotary
               Philadelphia County                                                  Total   $15,339.12
               Philadelphia, PA 19107
This notice was prepared and executed at DETROIT, MI
on this, the 16th day of September, 2015.
Authorizing Official:                        Title:
   P.A. BELTON                                   ACS SBSE                     22-00-0001
       Case
    Case    19-17707-mdc Doc
         19-17707-mdc     Claim
                             33 2-3
                                 FiledFiled 02/26/20Entered
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 1872                                COURT RECORDING DATA
      INTERNAL REVENUE SERVICE                          Lien Recorded : 12/28/2018 - 00:00AM
 FACSIMILE FEDERAL TAX LIEN DOCUMENT                    Recording Number: 18122018300002
                                                        UCC Number     :
BANKRUPTCY DOCKET: 19-17707-MDC                         Liber      :
                                                        Page         :

 Area: SMALL BUSINESS/SELF EMPLOYED #2                   IRS Serial Number: 339706518
 Lien Unit Phone: (800) 913-6050                         Lien Recorded       : 02/03/2010
                              This Lien Has Been Filed in Accordance with
                              Internal Revenue Regulation 301.6323(f)-1.

 Name of Taxpayer:
   ANTHONY BRUTTANITI & J FITZPATRICK



 Residence:      1432 S BROAD ST
                 PHILADELPHIA, PA 19146


     With respect to each assessment below, unless notice of lien
     is refiled by the date in column(e), this notice shall constitute
     the certificate of release of lien as defined in IRC 6325(a).


   Form          Period          ID Number            Assessed           Refile Deadline      Unpaid Balance
    (a)           (b)                (c)                 (d)                    (e)                 (f)

   1040       12/31/2015       XXX-XX-6591           09/19/2016           10/19/2026                     $8,743.29
   1040       12/31/2016       XXX-XX-6591           12/25/2017           01/24/2028                  $10,724.43




Filed at:      Prothonotary
               Philadelphia County                                                  Total   $19,467.72
               Philadelphia, PA 19107
This notice was prepared and executed at DETROIT, MI
on this, the 18th day of December, 2018.
Authorizing Official:                        Title:
   S. MCGUIGAN                                   ACS SBSE                     22-00-0001
       Case
    Case    19-17707-mdc Doc
         19-17707-mdc     Claim
                             33 2-3
                                 FiledFiled 02/26/20Entered
                                        08/04/20      Desc Main Document
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 1872                                COURT RECORDING DATA
      INTERNAL REVENUE SERVICE                          Lien Recorded : 09/29/2015 - 00:00AM
 FACSIMILE FEDERAL TAX LIEN DOCUMENT                    Recording Number: 020076
                                                        UCC Number     :
BANKRUPTCY DOCKET: 19-17707-MDC                         Liber      :
                                                        Page         :

 Area: SMALL BUSINESS/SELF EMPLOYED #2                   IRS Serial Number: 176711015
 Lien Unit Phone: (800) 829-3903                         Lien Recorded       : 02/03/2010
                              This Lien Has Been Filed in Accordance with
                              Internal Revenue Regulation 301.6323(f)-1.

 Name of Taxpayer:
   ANTHONY SALVATORE BRUTTANITI



 Residence:      1432 S BROAD ST
                 PHILA, PA 19146-4808


     With respect to each assessment below, unless notice of lien
     is refiled by the date in column(e), this notice shall constitute
     the certificate of release of lien as defined in IRC 6325(a).


   Form          Period          ID Number            Assessed           Refile Deadline      Unpaid Balance
    (a)           (b)                (c)                 (d)                    (e)                 (f)

   1040       12/31/2008       XXX-XX-6591           12/17/2012           01/16/2023                     $7,052.11
   1040       12/31/2011       XXX-XX-6591           03/11/2013           04/10/2023                     $6,770.77
   1040       12/31/2012       XXX-XX-6591           08/26/2013           09/25/2023                  $13,457.28




Filed at:      Prothonotary
               Philadelphia County                                                  Total   $27,280.16
               Philadelphia, PA 19107
This notice was prepared and executed at DETROIT, MI
on this, the 16th day of September, 2015.
Authorizing Official:                        Title:
   P.A. BELTON                                   ACS SBSE                     22-00-0001
